                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      AT CHATTANOOGA


 WILLIAM V. BRUNER,                                )
                                                   )
          Plaintiff,                               )
                                                   )
 v.                                                )           No. 1:10-CV-82
                                                   )
 LIBERTY LIFE ASSURANCE COMPANY,                   )           Judge Curtis L. Collier
 et al.,                                           )
                                                   )
          Defendants.                              )

                                           ORDER

                  Counsel for the parties have advised the Court that the matters in controversy

 have been settled to the satisfaction of all the parties. It is accordingly ORDERED that all

 counsel shall appear in person before the United States District Judge on Wednesday, March

 23, 2011 at 10:00 a.m., for a conference with regard to the status of the settlement and a final

 order.

                  In the event a final order is submitted prior to March 23, 2011, counsel shall

 contact Sheila Hendrix (423-752-5287) and the status conference will be canceled.


                  SO ORDERED.

                  ENTER:



                                                /s/
                                                CURTIS L. COLLIER
                                                CHIEF UNITED STATES DISTRICT JUDGE




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